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 5
 6                           IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Center for Biological Diversity,          )   No. 09-CV-8011-PCT-PGR
                                               )
10              Plaintiff,                     )
     vs.                                       )   ORDER
11                                             )
12   United States Bureau of Land              )
     Management, et al.,                       )
13                                             )
                Defendants.                    )
14                                             )

15          Before the Court are motions for summary judgment filed by Plaintiff Center for

16   Biological Diversity (“Plaintiff”) and Defendant Bureau of Land Management (“BLM”). At

17   issue are challenges to Resource Management Plans (“RMP”) for the Arizona Strip District
18   in northern Arizona, drafted by the Bureau of Land Management (“BLM”) after consultation
19   with the United States Fish and Wildlife Service (“FWS”).1 Plaintiffs allege that the RMPs,
20   particularly in their management of off-road travel and livestock grazing, violate the
21   Endangered Species Act (“ESA”) and the National Environmental Policy Act (“NEPA”).
22          Plaintiff filed its amended complaint on March 25, 2009. (Doc. 21.) BLM filed its
23   answer on May 4. (Doc. 31.) Plaintiff filed a summary judgment motion on September 15,
24   2010. (Doc. 98.) BLM filed a cross-motion for summary judgment on November 24, 2010.
25
26
            1
27                 A companion case, Wilderness Society v. BLM, 09-CV-8010-PCT-PGR, also
     challenges the RMPs, alleging that BLM, particularly in its designation of routes within the
28   National Monuments, violated applicable statutes and regulations.
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 1   (Doc. 106.) Defendant-Intervenor National Rifle Association (“NRA”) filed a motion for
 2   partial summary judgment on December 10, 2010.(Doc. 115.) The Court heard oral argument
 3   on September 28, 2011.
 4          Based on a review of the record and pleadings, Plaintiff’s motion for summary
 5   judgment is denied. BLM’s cross-motion for summary judgment and NRA’s motion for
 6   partial summary judgment are granted.2
 7   I.     BACKGROUND
 8          A.      Arizona Strip RMPs
 9
            The Arizona Strip encompasses approximately 2.7 million acres of public land in
10
     northern Arizona. This region includes the Vermilion Cliffs National Monument, the Grand
11
     Canyon-Parashant National Monument, and other public lands within the Arizona Strip Field
12
     Office area. The majority of the public land within these areas is managed by BLM.
13
            BLM’s land management authority is governed by the Federal Land Policy
14
     Management Act (“FLPMA”), which directs the agency to manage public lands for multiple
15
     uses and sustained yield. The FLPMA declares that “public lands be managed in a manner
16
     that will protect the quality of scientific, scenic, historical, ecological, environmental, air and
17
     atmospheric, water resource, and archeological values; that, where appropriate, will preserve
18
     and protect certain public lands in their natural condition; that will provide food and habitat
19
     for fish and wildlife and domestic animals; and that will provide for outdoor recreation and
20
     human occupancy and use.” 43 U.S.C. § 1701(a)(8).
21
            Pursuant to the FLPMA, BLM undertook a planning process for the purpose of
22
23   making management decisions regarding the land under its jurisdiction in the Arizona Strip

24   Region. BLM issued a Draft Resource Management Plan/Draft Environmental Impact

25
26          2
                   Because NRA’s substantive arguments largely duplicate BLM’s (see Doc. 115
27   at 9–15), the Court will not address them separately.
28                                                - 2 -
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 1   Statement (“DEIS”) for public review and comment in November 2005. ASRMP 058946.3
 2   BLM then prepared a Proposed RMP/FEIS, which was issued in January 2007. After
 3   additional public comment, BLM issued separate Records of Decision and RMPs for each
 4   of the Monuments and for the Arizona Strip Field Office in February 2008. ASRMP 62315,
 5   62585, 62910.
 6            The RMPs provide overall direction for the management of the region. ASRMP
 7   62325–27, 62596–97, 62920–22. The RMPs implement BLM’s decisions regarding the
 8   designation of routes for off-highway vehicle (“OHV”) travel within the Monuments.
 9
     ASRMP 62327–28, 62597–99, 62922. They also make administrative designations and land
10
     use allocations for particular uses, including livestock grazing. ASRMP 62326–27, 62597,
11
     62991.
12
              B.     Endangered Species Act Listing and Consultation
13
              The only species at issue in Plaintiff’s ESA claims is the desert tortoise. On April 2,
14
     1990, FWS listed the Mojave population of desert tortoise as threatened under the ESA. 55
15
     Fed. Reg. 12,178. On February 8, 1994, FWS published a final designation of critical habitat
16
     for the Mojave population of the desert tortoise. 59 Fed. Reg. 5,820. FWS identified 12 areas,
17
     with a total of 6.4 million acres, as critical habitat. R004514. Two critical habitat units in
18
     Arizona contain 338,700 acres, id., 288,800 acres of which are on BLM lands. ASRMP
19
     056159.
20
              In June 1994, FWS finalized a Recovery Plan for the Mojave population of the desert
21
     tortoise, describing a strategy for recovering and delisting the species. See R004600. The
22
23   Recovery Plan divides the Mojave population range into six recovery units and recommends

24   that land management agencies establish 14 desert wildlife management areas (“DWMAs”)

25
              3
                  Consistent with both parties’ briefing, citations to BLM’s Arizona Strip
26
     Management Plan Administrative Record are denoted ASRMP [page number] and citations
27   to FWS’s record are R [page number].
28                                                - 3 -
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 1   throughout the recovery units, with at least one DWMA in each unit.4 R004633–36,
 2   R004650–56. The Recovery Plan identifies activities that directly or indirectly threaten the
 3   desert tortoise and its habitat, such as domestic livestock grazing and OHV recreational use.
 4   See R004753–93. While acknowledging that “cattle grazing under certain circumstances can
 5   be compatible with desert tortoise survival,” the Recovery Plan recommends that grazing
 6   be prohibited in the DWMAs because, at the time of the plan’s adoption, “there are no data
 7   showing that continued livestock grazing is compatible with recovery of the desert tortoise.”
 8   R004672. The Recovery Plan also recommends vehicular controls such as restricting OHV
 9
     use to designated roads and limiting all competitive and organized events. R004670. The
10
     Recovery Plan notes that these “recommendations” are to “aid land managers in the
11
     development of management plans,” such as BLM’s RMPs, as “DWMA-specific
12
     management actions cannot yet be precisely defined.” R004660.
13
            BLM and FWS engaged in formal consultations for actions affecting the desert
14
     tortoise and its critical habitat, including the effects of livestock grazing and roads. ASRMP
15
     055596–97, 056247. On November 7, 2007, after reviewing the proposed RMPs, the FWS
16
     issued a BiOp to BLM regarding the effects of its proposed RMPs on listed species,
17
     including the desert tortoise and its critical habitat. See ASRMP 056112. As discussed in
18
     more detail below, FWS’s BiOp concluded that BLM’s implementation of the proposed
19
     RMPs was not likely to jeopardize the desert tortoise or to destroy or adversely modify its
20
     critical habitat. ASRMP 056212–13.
21
22
23          4
                    A “recovery unit” is a geographic area harboring an evolutionary distinct
24   population segment of the desert tortoise within the Mojave region. (R004645.) A “DWMA”
     is an administrative area in a recovery unit managed to afford reserve-level protection to
25   desert tortoise populations and habitat while maintaining and protecting other sensitive
     species and ecosystem functions. R004645. BLM established two DWMAs, Beaver Dam
26
     Slope DWMA and Gold Butte-Pakoon DWMA, within the area covered by the Arizona Strip
27   RMPs. R004655.
28                                              - 4 -
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 1   II.    STANDARD OF REVIEW
 2          A motion for summary judgment must be granted when there is no genuine issue as
 3   to any material fact and . . . the movant is entitled to judgment as a matter of law. Fed. R.
 4   Civ. P. 56(c). Judicial review of final agency actions is governed by the Administrative
 5   Procedure Act (“APA”), 5 U.S.C. § 701. See Pyramid Lake Paiute Tribe of Indians v. U.S.
 6   Dep’t of the Navy, 898 F.2d 1410, 1413 (9th Cir. 1990). The court shall set aside any agency
 7   decision that it finds “arbitrary, capricious, an abuse of discretion, or otherwise not in
 8   accordance with law.” 5 U.S.C. § 706(2)(A).
 9
            The court must determine whether the agency decision “was based on a consideration
10
     of the relevant factors and whether there has been a clear error of judgment.” Citizens to
11
     Preserve Overton Park v. Volpe, 401 U.S. 402, 416 (1971). An action is arbitrary and
12
     capricious if “the agency has relied on factors which Congress has not intended it to consider,
13
     entirely failed to consider an important aspect of the problem, offered an explanation for its
14
     decision that runs counter to the evidence before the agency, or is so implausible that it could
15
     not be ascribed to a difference in view or the product of agency expertise.” Motor Vehicle
16
     Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). A court may not
17
     substitute its judgment for that of the agency or merely determine that it would have decided
18
     an issue differently. See Marsh v. Oregon Natural Res. Council, 490 U.S. 360, 377 (1989).
19
     Although the arbitrary and capricious standard “is narrow and presumes the agency action
20
     is valid . . . it does not shield agency action from a ‘thorough, probing, in-depth review.’”
21
     Northern Spotted Owl v. Hodel, 716 F.Supp. 479, 481–82 (W.D.Wash. 1988) (quoting
22
23   Overton Park, 401 U.S. at 415).

24   III.   DISCUSSION

25          Plaintiff alleges that BLM and FWS failed to comply with ESA and NEPA.

26   Specifically, Plaintiff challenges the agencies’ analysis of the effects of the RMPs on the

27   populations of desert tortoises and California condors. With respect to the former, Plaintiff

28                                               - 5 -
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 1   alleges that the BiOp issued by FWS was arbitrary and capricious and violated the ESA by
 2   allowing excessive OHV use and livestock grazing. According to Plaintiff, these activities
 3   will adversely affect tortoise populations and habitat, and BLM violated NEPA by failing to
 4   consider and minimize such effects. With respect to condors, Plaintiff alleges that BLM
 5   violated NEPA by failing to consider and minimize the impact of the use of lead ammunition
 6   by hunters.
 7          BLM counters that Plaintiff has failed to meet its burden of establishing that the BiOp
 8   is arbitrary and capricious. It contends that FWS considered the best scientific evidence and
 9
     assessed all relevant factors in reaching its conclusion that the limited grazing and off-road
10
     use authorized by the RMPs is not likely to jeopardize the desert tortoise or harm its critical
11
     habitat.
12
            With respect to the alleged NEPA violations, BLM argues that it properly analyzed
13
     the environmental impacts on and mitigation measures for California condors. BLM explains
14
     that it has no authority to regulate hunting on federal lands and its action in approving the
15
     RMPs had no effect on hunting in the Arizona Strip. Therefore, it was not required to
16
     evaluate the use of lead ammunition on condors. In addition, BLM claims the Court should
17
     not consider the issue because Plaintiff never raised the point in its comments during the
18
     NEPA process. Finally, BLM contends that its FEIS included a detailed discussion of
19
     measures it will take to mitigate the effects of its own actions on condors, including
20
     encouraging the use of non-lead ammunition. BLM also asserts that it adequately discussed
21
     the impact of its actions on desert tortoises, including the recommendations made by the
22
23   FWS in its Desert Tortoise Recovery Plan.

24          A.     Endangered Species Act

25          For any federal action that may affect a threatened or endangered species, the agency

26   contemplating the action must undertake a “Section 7”consultation with the consulting

27   agency to ensure that the federal action is not likely to jeopardize “the continued existence

28                                              - 6 -
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 1   of” an endangered or threatened species and will not result in the “destruction or adverse
 2   modification” of the designated critical habitat of the listed species. 16 U.S.C. § 1536(a)(2);
 3   see Gifford Pinchot Task Force v. U.S. Fish and Wildlife Service, 378 F.3d 1059, 1063 (9th
 4   Cir. 2004). The consultation process concludes with the consulting agency issuing a BiOp.
 5   See Ariz. Cattle Growers’ Assoc. v. United States Fish and Wildlife Serv., 273 F.3d 1229,
 6   1239 (9th Cir. 2001). The BiOp must address both jeopardy and critical habitat by
 7   considering the current status of the species, the environmental baseline, the effects of the
 8   proposed action, and the cumulative effects of the proposed action. Gifford Pinchot, 378 F.3d
 9
     at 1063. In formulating its BiOp, the agency “shall use the best scientific and commercial
10
     data available.” 16 U.S.C. § 1536(a)(2); see 50 C.F.R. § 402.14(g)(8); Pacific Coast Fed’n
11
     of Fishermen’s Ass’n, Inc. v. National Marine Fisheries Service, 265 F.3d 1028, 1034 (9th
12
     Cir. 2001).
13
            At issue here is the BiOp in which FWS reviewed the effects of the RMPs on listed
14
     species and designated critical habitat. Plaintiff claims that FWS’s jeopardy analysis and
15
     conclusions regarding critical habitat were not supported by the evidence concerning the
16
     effects of grazing and OHV use. Therefore, according to Plaintiff, the BiOp and BLM’s
17
     reliance on it are arbitrary and capricious.
18
            As noted above, review under the APA’s arbitrary and capricious standard is narrow
19
     and courts cannot substitute their judgment for that of the agency. Lands Council v. McNair,
20
     537 F.3d 981, 987 (9th Cir. 2008) (en banc). In River Runners for Wilderness v. Martin, 593
21
     F.3d 1064 (9th Cir. 2010) (per curiam), the Ninth Circuit reiterated the appropriate standard
22
23   of review:

24          The APA does not allow the court to overturn an agency decision because it
            disagrees with the decision or with the agency’s conclusions about
25          environmental impacts. An agency’s decision may be set aside only if it is
            arbitrary, capricious, an abuse of discretion, or otherwise not in accordance
26          with law. The standard is deferential. The court may not substitute its
            judgment for that of the agency concerning the wisdom or prudence of [the
27          agency’s] action. In conducting an APA review, the court must determine

28                                              - 7 -
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 1          whether the agency’s decision is founded on a rational connection between the
            facts found and the choices made . . . and whether [the agency] has committed
 2          a clear error of judgment. The [agency’s] action . . . need only be a reasonable,
            not the best or most reasonable, decision.
 3
     Id. at 1070 (internal cites omitted). “The requirement that agency action not be arbitrary and
 4
     capricious includes a requirement that the agency adequately explain its result.” Public
 5
     Citizen, Inc. v. Federal Aviation Admin., 988 F.2d 186, 197 (D.C. Cir. 1993)
 6
            FWS issued an opinion concluding that implementation of the RMPs may have some
 7
 8   adverse effects on listed species but was not likely to “jeopardize the continued existence”

 9   of the desert tortoise or “destroy or adversely modify . . . [its] critical habitat.” ASRMP

10   056212. FWS further explained that the proposed action promoted recovery of the desert

11   tortoise by amending the RMP to be largely in accord with the Recover Plan with respect to

12   the management of desert tortoises and their critical habitat. ASRMP 056213.

13          The Court concludes, for the reasons set forth below, that FWS’s conclusions were
14   “based on a consideration of relevant factors” and the agency did not commit a “clear error
15   of judgment.” Gifford Pinchot, 378 F.3d at 1065 (internal citations omitted).
16          1.     Jeopardy analysis
17          As explained by FWS in its 2007 BiOp, “Most critical habitat designated for desert
18   tortoise in Arizona is within the DWMAs/ACEC. These lands receive reserve-level
19   protection that varies little from that proposed in the recovery plan.” ASRMP 55718. FWS
20   further noted that desert tortoises occur in “two primary habitat areas in the planning area,”
21   the Beaver Dam slope and Pakoon Basin. ASRMP 56158. With respect to the Beaver Dam
22   slope, FWS found that the desert tortoise population “nearly stable.” ASRMP 56159, 55719.
23   Though a “meaningful assessment” was problematic, FWS indicated that the tortoise
24
     population in Pakoon Basin was “low, but stable.”5 ASRMP 055723; see ASRMP 055728.
25
26          5
                  Elsewhere the record indicates that desert tortoises in the Beaver Dam and
27   Virgin Slopes ACECs were “dying at an alarming rate.” ASRMP 06730. However, studies
28                                              - 8 -
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 1          FWS analyzed BLM’s proposed RMPs and found that some authorized activities, such
 2   as OHV use, could adversely affect the desert tortoise and its habitat. See ASRMP
 3   055615–16. Specifically, FWS found that OHV use may lead to OHV/tortoise collisions.
 4   FWS noted, however, that “given the relatively low level of public use in these areas, the
 5   incidence of injury or mortality should be very low.” ASRMP 056187; see also ASRMP
 6   056173–74, 056183–88, 055710–23. FWS explained that:
 7          [M]ortality is very low or non-existent threat for populations away from
 8          highways. The effects of roads on wildlife vary with road surface, traffic speed
            and volume, and density of the species. . . .
 9
                   Desert tortoise habitat on the Arizona Strip is characterized by single-
10          width dirt roads with maximum safe travel speeds of 35 mph. Public use of
            most of these routes involves fewer than 10 vehicles per day, with most use
11          occurring during the inactive season. Desert tortoise densities are lower in
            Parashant and the Arizona Strip FO than anywhere else in the range of the
12          species.

13   ASRMP 060982 (citations omitted); see also ASRMP 056173–74. FWS also observed that
14   “[m]any of the roads in desert tortoise habitat on the Arizona Strip are in remote areas that
15   receive a low volume of traffic, including the Pakoon Basin and the Beaver Dam Slope.
16   These are dirt roads where reported traffic collisions are rare.” ASRMP 056187–88.
17          In addition, FWS noted that the conservation measures in the RMPs would mitigate
18   the adverse effects of OHV use. See ASRMP 055615–16. For example, the RMPs close more
19   than 350 miles of existing roads. ASRMP 062439, 062749. They restrict OHV use within the
20   DWMAs/ACECs to “designated roads,” ASRMP 063004, 062704, 062748, and allow OHV
21   users to stop or park only within 100 feet of the center-lines of routes, ASRMP 056187. The
22   RMPs also prohibit competitive speed events within the DWMAs/ACECs, and restrict
23   organized non-speed events to the tortoises’ inactive period. Id.
24
25
     determined that the deaths were not the result of grazing or OHV use but were likely caused
26
     by disease. Id. At oral argument the parties conceded that there were no “hard and fast data”
27   on the baseline population of desert tortoises.
28                                              - 9 -
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 1          In National Wildlife Fed’n v. National Marine Fisheries Service, 524 F.3d 917, 930
 2   (9th Cir. 2008), the Ninth Circuit explained that, “Agency action can only ‘jeopardize’ a
 3   species’ existence if that agency causes some deterioration in the species’ pre-action
 4   condition.” Here, the RMPs do not cause a “new risk of harm,” id., but improve on the status
 5   quo by putting in place measures designed to protect desert tortoises and their habitat. The
 6   RMPs are permissible under section 7(a)(2) to the extent that they do not “deepen[]”
 7   jeopardy already present in the environmental baseline “by causing additional harm.” Id.
 8          FWS concluded that desert tortoise populations in the DWMAs were “near stable” and
 9
     that “[t]he proposed action promotes the recovery of the desert tortoise.” Therefore, there is
10
     a “‘rational connection’ between the facts found and the no-jeopardy conclusion.” South
11
     Yuba River Citizens League v. National Marine Fisheries Service, 723 F.Supp.2d 1247, 1258
12
     (E.D.Cal. 2010) (rejecting BiOp where FWS made no predicate finding about the stability
13
     of the species’ population); see Cabinet Resource Group v. U.S. Fish and Wildlife Service,
14
     465 F.Supp.2d 1067, 1082–83 (D.Mont. 2006) (“As seen through the lens of ESA § 7(a)(2),
15
     the amendments proposed do slightly more for recovery and survival than the status quo.
16
     Consequently, the FWS satisfied its legal obligation in concluding that the Amendments do
17
     not reduce the likelihood of the survival and recovery of the grizzly.”)
18
            2.     Critical Habitat
19
            The “destruction or adverse modification” inquiry assesses whether “sufficient critical
20
     habitat is lost so as to threaten a species’ recovery even if there remains sufficient critical
21
     habitat for the species’ survival.” See Gifford Pinchot, 378 F.3d at 1070. FWS concluded that
22
23   the RMPs were not likely to jeopardize desert tortoise habitat. Instead, it found that the

24   RMPs maintained or improved on the present quality of critical habitat.

25          FWS analyzed the current status of the tortoise’s critical habitat and the future effects

26   of BLM’s proposed actions. FWS noted that “[d]esignation of most [critical habitat units] as

27   DWMAs/ACECs has aided in protection of these areas, particularly by limiting off-highway

28                                              - 10 -
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 1   vehicle use and other ground-disturbing activities, and reducing or eliminating wild burros
 2   and livestock grazing in many units.” ASRMP 56140. FWS also identified and discussed
 3   activities that disturb the tortoise’s critical habitat, including livestock grazing and OHV use.
 4   ASRMP 056167–68.
 5          FWS next considered the likely future impact of BLM’s proposed action on desert
 6   tortoise critical habitat. See ASRMP 056180–89. FWS analyzed potential adverse effects and
 7   determined that the RMPs provide for management of critical habitat in a manner that would
 8   promote recovery of the desert tortoise. ASRMP 56213. This conclusion is supported by a
 9
     number of considerations.
10
            The RMPs closed or restricted certain grazing allotments, making the Tassi allotment
11
     and portions of the Mosby-Nay and Pakoon Springs allotments unavailable for grazing.
12
     ASRMP 055615–16, 060518. Most significantly, the RMPs limited grazing to the desert
13
     tortoise’s inactive season and set grazing utilization levels at 45% of current year’s growth
14
     on all allotments containing desert tortoise habitat. ASRMP 055616. These steps reduced the
15
     likelihood of trampling and forage competition for winter plants. ASRMP 056184–85. The
16
     RMPs also enlarged the Beaver Dam Slope and Virgin Slope ACECs, and designated the
17
     Pakoon WHA. ASRMP 055615. Furthermore, the RMPs required that tortoise habitat be
18
     monitored to assess the effects of grazing.6 See ASRMP 055741, 061000–01. Finally, the
19
     RMPs are required to comply with the Arizona Standards for Rangeland Health, which
20
     mandates the conservation of the tortoise through maintenance and restoration of its habitat.
21
     R015914–15.
22
23
            6
24                 BLM notes that one of its grazing restrictions, the implementation of winter
     grazing schedules on the Beaver Dam and Virgin Slope ACECs, has been in place since
25   1998. ASRMP 061000. Studies suggest that “vegetative communities were healthy prior to
     implementation of grazing restrictions and continue to remain at or near their potential.” Id.
26
     However, “[d]espite these somewhat encouraging results, tortoise populations apparently
27   continued to decline.” Id. at 061000–01.
28                                               - 11 -
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 1          In sum, as FWS explained in its BiOp:
 2          The proposed action promotes recovery of the desert tortoise in the
            northeastern Mohave recovery unit by amending the Arizona Strip RMP to be
 3          largely in accordance with desert tortoise recovery plan in regards to
            management of desert tortoises and their critical habitat on the Beaver Dam
 4          and Virgin Slopes, and in Pakoon Basin. Critical habitat will be managed
            largely in accordance with the desert tortoise recovery plan.
 5
     ASRMP 056213.
 6
            Plaintiff disagrees with FWS’s findings and asserts that continued grazing will
 7
 8   adversely affect the desert tortoise’s critical habitat, notwithstanding the limitations set forth

 9   in the RMPs. Plaintiff does not, however, challenge the data relied on by FWS, and the

10   record indicates that FWS fully considered the impact of continued grazing, including the

11   restricted grazing authorized in the RMPs. See, e.g., ASRMP 056159, 056183–86. Also, as

12   described above, FWS found that OHV use may cause adverse effects due to OHV/tortoise

13   collisions, but that the conservation measures in the RMPs would reduce the likelihood of
14   such incidents. ASRMP 056183–89.
15          Notwithstanding the specific, mandatory conservation measures set out in the RMPs,
16   ASRMP 056254–60, Plaintiff claims that the BiOp is arbitrary and capricious based on its
17   inconsistency with the FWS’s 1994 Desert Tortoise Recovery Plan, particularly the Plan’s
18   recommendation that livestock grazing and OHV use in DWMAs be prohibited as generally
19   incompatible with tortoise recovery. Citing the discrepancies between the Recovery Plan and
20   the BiOp, Plaintiff argues that the FWS’s expertise is not entitled to deference. (Doc. 98 at
21   6–7.) BLM counters that the consultation provisions of the ESA are not affected by the
22   recovery planning provisions of ESA § 7 and that, for the reasons discussed above, BLM
23   insured that the RMPs’ authorization of restricted OHV use and limited grazing was not
24
     likely to jeopardize the tortoise or adversely modify critical habitat. See ASRMP 60729–30,
25
     056187–88, 056213.
26
            Addressing this issue, the court in Center for Biological Diversity v. U.S. Bureau of
27
28                                               - 12 -
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 1   Land Management (“CBD”), 746 F.Supp.2d 1055, 1103 (N.D.Cal. 2009), vacated in part,
 2   2011 WL 337364 (N.D. Cal. 2011), rejected the plaintiff’s argument that FWS’s no jeopardy
 3   finding was flawed because the plans at issue did not fully implement the Desert Tortoise
 4   Recovery Plan. The court explained that while the Recovery Plan is relevant to assessing the
 5   impact of the proposed actions on desert tortoise recovery, the ESA does not require that a
 6   Recovery Plan be fully implemented. Id.
 7          Plaintiff argues that BLM, “having chosen to ignore recommendations in the Desert
 8   Tortoise Recovery Plan, . . . must disclose and evaluate the RMPs’ significant environmental
 9
     effects on tortoise recovery” but “manifestly failed to do so.” (Doc. 118 at 18.) BLM counters
10
     that it did not ignore the Recovery Plan, noting that FWS’s conclusions with respect to
11
     critical habitat were premised in part on the finding that the RMPs promoted tortoise
12
     recovery and were “largely in accordance” with or met the intent of the Recovery Plan. See
13
     ASRMP 056213.
14
            With respect to OHV use, the RMPs implement the Recovery Plan’s recommendations
15
     by closing roads to limit access, prohibiting off-road vehicle activity, prohibiting all
16
     competitive events, and restricting organized events to the tortoise’s inactive season. (See
17
     R04670.) While the RMPs do not prohibit grazing in the DWMAs, they do take positive
18
     steps to limit grazing and improve habitat in a manner consistent with the concerns described
19
     in the Recovery Plan.
20
            The record clearly shows that FWS considered the adverse effects of the RMPs,
21
     including the consequences of grazing and OHV use on the desert tortoise and its habitat. See
22
23   ASRMP 055740 (identifying actions that implement the recovery plan); see also CBD, 746

24   F.Supp.2d at 1060 (approving BiOps where FWS “considered all relevant factors” and its

25   “analyses and conclusions are supported by the record”). While Plaintiff takes issue with

26   FWS’s analysis of these effects, it has not demonstrated that BLM and FWS failed to

27   consider the best available scientific data or any other relevant factors. See id. at 1109–17;

28                                             - 13 -
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 1   see also River Runners, 593 F.3d at 1070; Gifford Pinchot, 378 F.3d at 1065.
 2          FWS reasonably determined that the RMPs were largely consistent with the Recovery
 3   Plan and, despite impacts from OHV use and grazing, appropriately safeguarded the recovery
 4   value of the existing desert tortoise critical habitat. See Butte Environmental Council v. U.S.
 5   Army Corps of Engineers, 620 F.3d 936, 948 (9th Cir. 2010) (finding of no adverse
 6   modification or destruction of critical habitat was not arbitrary and capricious despite FWS’s
 7   acknowledgement that some critical habitat would be destroyed); cf. CBD, 746 F.Supp.2d
 8   at 1106 (emphasizing that BLM’s plans “improved conditions for the desert tortoise”).
 9
            3.     Summary
10
            Viewing the BiOp with the appropriate level of deference to FWS’s expertise, see
11
     Lands Council v. McNair, 537 F.3d at 993, the Court finds that FWS adequately assessed the
12
     current status of the desert tortoise population and its critical habitat, analyzed the possible
13
     future effects resulting from the RMPs, considered all relevant factors and the best available
14
     scientific data, and provided a reasoned and rational explanation supporting its “no jeopardy”
15
     and “no adverse modification” determinations.7 BLM’s reliance on the BiOp did not violate
16
     the ESA.
17
            B.     National Environmental Protection Act
18
            NEPA requires federal agencies to consider the consequences of their actions on the
19
     environment. NEPA’s mandate is “essentially procedural. . . . It is to insure a fully informed
20
     and well considered decision.” Vermont Yankee Nuclear Power Corp. v. NRDC, 435 U.S.
21
     519, 558 (1978). “NEPA itself does not mandate particular results, but simply prescribes the
22
23
            7
24                  Plaintiff asserts that FWS’s conclusions are not entitled to deference because
     the agency took conflicting positions in the Desert Tortoise Recovery Plan and the BiOp.
25   (Doc. 118 at 25.) The Court disagrees. FWS’s position on the effects grazing remained
     consistent. In its BiOp, FWS simply concluded BLM sufficiently restricted grazing so that
26
     the tortoise population would not be jeopardized and its habitat would not be adversely
27   modified.
28                                              - 14 -
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 1   necessary process.” Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 350 (1989).
 2   Its goals are to ensure the agency will have detailed information on significant environmental
 3   impacts when it makes its decisions and guarantee that this information will be available to
 4   a larger audience. Id. at 349.
 5            Under NEPA, an Environmental Impact Statement (“EIS”) is required for “major
 6   federal actions significantly affecting the quality of the human environment.” 42 U.S.C. §
 7   4332(c). “A properly prepared EIS ensures that federal agencies have sufficiently detailed
 8   information to decide whether to proceed with an action in light of potential environmental
 9
     consequences.” Oregon Environmental Counsel v. Kunzman, 817 F.2d 484, 492 (9th Cir.
10
     1986).
11
              When the adequacy of an EIS is challenged in court, the relevant inquiry is whether
12
     the EIS takes a “hard look” at all potentially significant environmental effects. A court may
13
     not substitute its judgment for that of the agency. “The only role for a court is to insure that
14
     the agency has taken a ‘hard look’ at environmental consequences; it cannot interject itself
15
     within the area of discretion of the executive as to the choice of the action to be taken.”
16
     Kleppe v. Sierra Club, 427 U.S. 390, 410 n.21 (1976) (citation omitted).
17
              A challenge to an EIS evaluation of environmental effects is subject to deferential
18
     review, with due consideration given to the agency’s expertise. Salmon River Concerned
19
     Citizens v. Robertson, 32 F.3d 1346 (9th Cir. 1994). A court should apply a “rule of reason”
20
     and determine only whether the EIS “contains a reasonably thorough discussion of the
21
     significant aspects of the probable environmental consequences.” Half Moon Bay
22
23   Fishermans’ Ass’n v. Carlucci, 857 F.2d 505, 508 (9th Cir. 1988); see Kunzman, 817 F.2d

24   at 492 (“reviewing court may not ‘fly speck’ and EIS and hold it insufficient on the basis of

25   inconsequential, technical deficiencies”).

26            Plaintiff claims that BLM violated NEPA by failing to address potential impacts to

27   condors and desert tortoises, including the effects of hunting with lead ammunition on

28                                              - 15 -
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 1   condors.8 BLM responds that it was not required to analyze the effects of lead ammunition
 2   on condors because it does not manage hunting in the Arizona Strip; because in promulgating
 3   the RMPs it did not take any “major federal action” with regard to hunting; and because
 4   adoption of the RMPs is not causally related to the use of lead shot and its effect on condors.
 5   BLM further argues that Plaintiff has waived its right to raise the issue because during the
 6   NEPA process, when given the opportunity to comment, Plaintiff never suggested that BLM
 7   was required to include an analysis of the effects of hunting with lead ammunition.
 8          1.     Condors
 9
            The Court agrees that Plaintiff has waived its claims concerning BLM’s failure to
10
     assess the impact of lead ammunition on condors. “Persons challenging an agency’s
11
     compliance with NEPA must ‘structure their participation so that it . . . alerts the agency to
12
     the [parties’] position and contentions,’ in order to allow the agency to give the issue
13
     meaningful consideration.” Dep’t of Transp. v. Pub. Citizen, 541 U.S. 752, 764 (2004)
14
     (quoting Vt. Yankee Power, 435 U.S. at 553); see Protect Lake Pleasant, LLC v. Connor, No.
15
     CIV 07-454-PHX-RCB, 2010 WL 5638735, at *37 (D.Ariz. July 30, 2010) (“plaintiffs have
16
     waived their right to challenge the Final EA as to drifting emissions because they did not
17
     raise that issue during the administrative process”).
18
            As BLM notes, Plaintiff in its 90-page comment letter made only the following
19
     reference to the issue: “We urge the BLM to continue working with Arizona Game and Fish
20
     Department with public education efforts to promote the use of non-lead ammunition to
21
     reduce the risk of lead ingestion . . .” ASRMP 35397. In a protest letter following publication
22
23   of the FEIS, Plaintiff recommended that BLM impose “a prohibition on the use of lead

24   bullets in the proposed [Kaibob-Paunagunt] ACEC and adjacent National Monument.”

25
26          8
                   Condors are poisoned by consuming lead ammunition present in carcasses shot
27   by hunters. (See Doc. 98 at 19.)
28                                              - 16 -
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 1   ASRMP 036533. It did not argue that BLM was required to include the potential effects of
 2   lead ammunition in its analysis of environmental impacts.
 3          Plaintiff’s statements, the first of which does not appear to challenge the respective
 4   roles of BLM and the Arizona Game and Fish Department, were not sufficient to alert the
 5   BLM to Plaintiff’s argument that BLM was mandated under NEPA to analyze the effects of
 6   its actions on the use of lead ammunition by hunters. Pub. Citizen, 541 U.S. at 764.
 7          The Court has also considered, and rejected, Plaintiff’s remaining substantive NEPA
 8   arguments. First, Plaintiffs assert that the RMPs “allow the use of lead ammunition by
 9
     hunters” and are therefore inadequate because they fail to discuss the impact of lead
10
     ammunition on condors. BLM correctly notes that under FLPMA, the management of
11
     hunting on public lands is reserved to the states.9 “[N]othing in this Act shall be construed
12
     as authorizing the Secretary concerned to require Federal permits to hunt and fish on public
13
     lands or on lands in the National Forest System and adjacent waters or as enlarging or
14
     diminishing the responsibility and authority of the States for management of fish and resident
15
     wildlife.” 43 U.S.C. § 1732(b); see 43 C.F.R. § 24.4(d) (“While the several States therefore
16
     possess primary authority and responsibility for management of fish and resident wildlife on
17
     Bureau of Land Management lands, the Secretary, through the Bureau of Land Management,
18
     has custody of the land itself and the habitat upon which fish and resident wildlife are
19
     dependent.”). BLM and the Arizona Game and Fish Commission entered into a
20
     Memorandum of Understanding governing the management of wildlife. BLM is responsible
21
     for managing the habitat of special status species, while the Arizona Game and Fish
22
23
            9
24                  The Secretary of the Interior may prohibit hunting on certain areas of public
     land “for reasons of public safety, administration, or compliance with provisions of
25   applicable law” but must consult with the relevant state agencies before putting any such
     designations into effect. 43 U.S.C. § 1732(b); see Defenders of Wildlife v. Andrus, 627 F.2d
26
     1238, 1250 (D.C.Cir. 1980). BLM is not exercising its limited authority to ban hunting, and
27   Plaintiff has not argued that it should do so.
28                                             - 17 -
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 1   Commission is responsible for regulating hunting.
 2          Plaintiff nonetheless argues that BLM has the authority to preempt State management
 3   of wildlife, that adoption of the RMPs itself constituted a major federal action triggering
 4   NEPA’s requirement that all adverse environmental impacts be discussed, and that the RMPs
 5   do not maintain the status quo with respect to hunting. The Court disagrees. While the RMPs
 6   discuss hunting and other forms of recreation, they do not take any action causally related
 7   to the use of lead ammunition by hunters, an issue that was left to the State of Arizona.10
 8   Therefore, with respect to the issue of lead ammunition used by hunters, there has been no
 9
     federal action.
10
            In Defenders of Wildlife v. Andrus, 627 F.2d 1238, 1244 (D.C.Cir. 1980), the circuit
11
     court held that “federal ‘approval’ of another party’s action does not make that action federal
12
     unless the federal government undertakes some ‘overt act’ in furtherance of that other party’s
13
     project.” The court therefore declined to impose the NEPA process on a federal decision not
14
     to intervene in Alaska’s wolf hunt program, because the federal agency did “nothing more
15
     than fail to prevent the other party’s action from occurring.” Id.; see State of Alaska v.
16
     Andrus, 591 F.2d 537, 540 (9th Cir. 1979) (explaining that “even if the Secretary had some
17
     power under a delegation by Congress to stop the wolf-kill program . . . his inaction was not
18
     the type of conduct that requires an environmental impact statement.”); see also Fund for
19
     Animals v. Thomas, 932 F.Supp. 368, 371 (D.D.C. 1996) (holding that Forest Service policy
20
     of deferring to states on game-baiting was not a major federal action). Contrary to Plaintiff’s
21
     argument, therefore, these cases do not provide BLM with the authority to regulate hunting
22
23   under the FLPMA and § 1732(b).

24          Plaintiff relies on Meister v. U.S. Dep’t of Agric., 623 F.3d 363 (6th Cir. 2010), for

25
            10
                    The RMPs do not, as Plaintiff claims, promote additional impacts on condors
26
     by providing increased access for visitors. Rather, the RMPs reduce the miles of roads open
27   to visitors. See ASRMP 060973.
28                                              - 18 -
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 1   its argument that the federal government “possesses the authority to manage hunting on
 2   federal land.” (Doc. 118 at 5.) In Meister, the Sixth Circuit held that the Forest Service
 3   abused its discretion and violated NEPA by failing to consider the plaintiff’s proposed ban
 4   on gun hunting and snowmobiling in portions of a national forest. 623 F.3d at 379. The
 5   Forest Service argued that it was not authorized to ban hunting. The court noted, however,
 6   that the FLPMA provides that the Forest Service “may designate areas of public land and of
 7   lands in the National Forest System where, and establish periods when, no hunting or fishing
 8   will be permitted for reasons of public safety, administration, or compliance with provisions
 9
     of applicable law.” Id. at 378 (quoting 43 U.S.C. § 1732(b)). The court also noted that the
10
     Forest Service’s own regulations provided that state fish and wildlife laws do not apply
11
     where they “would permit activities that conflict with land and resource management
12
     responsibilities of the Forest Service or . . . are inconsistent with direction in forest plans.”
13
     Id. at 379.
14
            Meister is inapposite because BLM is not subject to the same regulations as the Forest
15
     Service, which permit federal regulation of hunting in certain circumstances. In addition, the
16
     Forest Service in Meister was not prohibited from considering a ban on gun hunting because
17
     gun hunting on the small areas of land at issue—so-called “Primitive and Semiprimitive
18
     Nonmotorized” areas of the forest—was inconsistent with the Service’s characterization of
19
     those areas as isolated from “the sights and sounds of humans.” Id. at 375. Therefore,
20
     because gun hunting was inconsistent with the forest plans, and thus the Forest Service was
21
     authorized to prohibit gun hunting under its own regulations and the applicable section of the
22
23   FLPMA, the Forest Service abused its discretion by failing to consider the plaintiff’s

24   proposed ban.

25          None of these considerations are present here. BLM was not authorized by any

26   applicable regulation or policy to ban hunting with lead ammunition. Therefore, it did not

27   violate NEPA by failing to discuss the environmental impact of its decision not to address

28                                               - 19 -
     Case 3:09-cv-08011-PGR Document 134 Filed 09/30/11 Page 20 of 23



 1   the impacts of hunting with lead ammunition on condors.
 2          In addition, an agency may properly exclude from NEPA analysis a state action that
 3   was complementary to, but distinct from, the federal action. See Enos v. Marsh, 769 F.2d
 4   1363, 1371–72 (9th Cir. 1985); see also Sabine River Authority v. U.S. Dept. of Interior; 951
 5   F.2d 669, 679 (5th Cir. 1992); Upper Snake River v. Hodel, 921 F.2d 232, 235 (9th Cir.
 6   1980) (EIS need not discuss the environmental effects of continuing to use land in the
 7   manner which it is presently being used (citing Burbank Anti-Noise Group v. Goldschmidt,
 8   623 F.2d 115, 116 (9th Cir. 1980)). BLM’s decisions regarding recreational use are
 9
     complementary to but distinct from the Arizona Game and Fish Commission’s hunting
10
     regulations. The fact that BLM regulates recreational shooting, defined as “the discharge of
11
     any firearm for any lawful, recreational purpose other than the lawful taking of a game
12
     animal,” ASRMP 062272, does not, as Plaintiff contends, imply an authority to regulate
13
     hunting.
14
            Because BLM did not take any “major federal action” with regard to hunting in the
15
     Arizona Strip, and the State’s regulation of this issue was distinct from any federal action,
16
     BLM was not required under NEPA to analyze the potential impacts of hunting using lead
17
     ammunition.
18
            Similarly, BLM was not required to perform a “cumulative effects” analysis to address
19
     the impact of non-federal actions on the California condor. “Cumulative effects” are defined
20
     as “the impact on the environment which results from the incremental impact of the action
21
     when added to other past, present, and reasonably foreseeable future actions regardless of
22
23   what agency (Federal or non-Federal) or person undertakes such other actions.” 40 C.F.R.

24   § 1508.7. If no “incremental” impacts exist, a cumulative effects analysis is unnecessary.

25   Here, BLM reasonably determined that its own actions would not affect the condor

26   population, so a cumulative analysis of the state’s decisions was unnecessary. See Nw. Envtl.

27   Advocates v. Nat’l Marine Fisheries Serv., 460 F.3d 1125, 1140 (9th Cir. 2006).

28                                             - 20 -
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 1          Finally, the Court concludes that BLM satisfied NEPA by sufficiently discussing both
 2   the effects of its actions on condors and its mitigation measures. In addressing the
 3   “Environmental Impacts” of the RMPs, BLM analyzed the effects of its actions on condors,
 4   including decisions regarding recreation, watershed restoration, the effect of vegetation and
 5   fire management, wildlife transplants and the construction and maintenance of wildlife water
 6   developments, and mineral extraction. ASRMP 060958, 060988–90, 060993, 060995,
 7   060997.
 8          BLM also set out, in “Conservation Measures for California Condor,” a list of
 9
     measures designed to protect the condor. ASRMP 061635–38. These include detailed
10
     guidelines for all construction projects, all BLM/NPA-authorized projects, all actions
11
     involving the use of aircraft, and fire use and suppression. Id. In addition, while BLM does
12
     not regulate hunting, one of its conservation measures with respect to condors provides that
13
     the “[u]se of non-lead ammunition is strongly encouraged for activities involving the
14
     discharge of firearms.” ASRMP 061637.
15
            This examination of mitigation measures meets the requirements of NEPA that the
16
     agency discuss mitigation measures “in sufficient detail to ensure that environmental
17
     consequences have been fairly evaluated.” Okanogan Highlands Alliance v. Williams, 236
18
     F.3d 468, 476 (9th Cir. 2000); see Kunzman, 817 F.2d at 492 (holding that if an EIS contains
19
     a “reasonably thorough discussion of the significant aspects of the probable environmental
20
     consequences,” a court may not hold it insufficient).
21
            2.     Desert tortoises
22
23          Finally, the Court finds that BLM adequately addressed the environmental impacts

24   of its decisions on desert tortoises. Plaintiff’s key contention is that the provisions of the

25   RMPs are inconsistent with the recommendations in the Desert Tortoise Recovery Plan, and

26   this inconsistency demonstrates that BLM violated NEPA by failing to take a “hard look” at

27   impacts on the desert tortoise. Plaintiff further argues that BLM was required under NEPA

28                                             - 21 -
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 1   to discuss the inconsistencies between the RMP and the Recovery Plan.
 2          As already noted, BLM was not required under NEPA to fully implement the
 3   recommendations of the Recover Plan. NEPA is a procedural statute and does not require
 4   substantive results. See Marsh, 490 U.S. at 371 (holding that NEPA “does not work by
 5   mandating that agencies achieve particular substantive [] results.”); Robertson, 490 U.S. at
 6   349 (holding that “NEPA itself does not mandate particular results, but simply prescribes the
 7   necessary process.”). The records shows that BLM considered the Recovery Plan and FWS’s
 8   concerns regarding grazing and OHV use, and FWS indicated that the RMPs were generally
 9
     in accord with the plan. ASRMP 56213.
10
            BLM discussed the environmental impact of its decisions on the desert tortoise,
11
     including the effects of livestock grazing. See ASRMP 060978–61018. For example, BLM
12
     acknowledged that “grazing by livestock (cattle and sheep) may have direct and indirect
13
     effects on tortoise populations including mortality from crushing of animals or their burrows,
14
     destruction of vegetation, alteration of soil, augmentation of forage . . . and competition for
15
     food.” ASRMP 060998. BLM also discussed the efficacy of various mitigation measures,
16
     such as allowing livestock grazing only during years of abundant plant growth, closing areas
17
     to grazing, managing allotments as forage reserves, and placing allotments on winter-only
18
     grazing schedules. See ASRMP 056254–60 (itemizing steps to “[m]inimize or eliminate
19
     effects to desert tortoises from authorized projects”). In addition to these measures, BLM will
20
     monitor grazing to gather information on the effect of different grazing regimes on desert
21
     tortoise recovery. ASRMP 061409. These steps are sufficient to satisfy NEPA. See Western
22
23   Watersheds Project v. Bureau of Land Management, No. 3:11–cv–00053–HDM–VPC, 2011

24   WL 1630789 (D.Nev. April 28, 2011) (explaining that “NEPA specifically allows agencies

25   to utilize adaptive management plans that . . . monitor the real environmental effects of a

26   project and allow the BLM to adapt its mitigation measures in response to the trends

27   observed.”).

28                                              - 22 -
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 1          3.     Summary
 2          BLM fulfilled its responsibilities under NEPA by including “a reasonably thorough
 3   discussion of the significant aspects of the probable environmental consequences of a
 4   challenged action” that “fostered informed decisionmaking and public participation.”
 5   National Parks & Conservation Ass’n v. U.S. Dep’t of Transportation, 222 F.3d 677, 680
 6   (9th Cir. 2000) (quotations and citations omitted). BLM took the requisite “hard look” at the
 7   environmental consequences of the RMPs on condors and desert tortoises.
 8   IV.    CONCLUSION
 9
            The standard of review under the APA is deferential. This Court “may not substitute
10
     its judgment for that of the agency concerning the wisdom or prudence of [the agency’s]
11
     action.” Kunzman, 817 F.2d at 492; see River Runners, 593 F.3d at 1070 (“The APA does
12
     not allow the court to overturn an agency decision because it disagrees with the decision or
13
     with the agency’s conclusions about environmental impacts.”).
14
            Under this deferential standard of review, the Court concludes that BLM and FWS
15
     complied with the ESA and NEPA.
16
            Accordingly,
17
            IT IS HEREBY ORDERED denying Plaintiff’s motion for summary judgment
18
     (Doc. 98).
19
            IT IS FURTHER ORDERED granting Defendant BLM’s cross-motion for
20
     summary judgment (Doc. 106).
21
            IT IS FURTHER ORDERED granting Intervenor-Defendant NRA’s partial motion
22
23   for summary judgment (Doc. 115).

24          IT IS FURTHER ORDERED that the Clerk shall enter judgment accordingly.

25          DATED this 30th day of September, 2011.

26
27
28                                             - 23 -
